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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                 )            No. CR-05-0208 CRB
12                                             )
                             Plaintiff.        )            [PROPOSED] ORDER GRANTING
13                                             )            DISCOVERY TO THE UNITED
                                               )            STATES
14                                             )
                   v.                          )
15                                             )
     VIDEO NETWORK COMMUNICATIONS              )            Date:            October 4, 2006
16   INC., ET AL.,                             )            Time:            2:15 p.m.
                                               )            Court:           Hon. Charles R. Breyer
17                           Defendants.       )
     __________________________________________)
18
19            Having considered the United States’ Motion For Discovery and good cause having been
20   shown:
21            IT IS HEREBY ORDERED that each defendant provide the United States with Fed. R.
22   Crim. P. 16(b) documents and materials, any witness statements obtained related to this case,
                                        November 3, 2006 (CRB)
23   witness lists and exhibit lists by October 20, 2006.
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24   Dated: October 11 , 2006                                         TES D      TC
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                                                  HONORABLE CHARLES R. BREYER
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26                                                                       ERED
                                                  UNITED STATES DISTRICTDCOURT
                                                          UNIT




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27                                                                 IT IS S
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28                                                                                           yer
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                                                                        Judge C
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     [Proposed] Order Granting
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     Discovery to the United States
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     CR-05-0208 CRB
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